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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA


                                 CIVIL MINUTES - GENERAL
   Case No.      SACV 16-686 AG (DFMx)                                   Date   November 29, 2016
   Title         BRUCE CAHILL ET AL. v. PAUL PEJMAN EDALAT ET AL.




   Present: The                ANDREW J. GUILFORD
   Honorable
             Lisa Bredahl                             Not Present
             Deputy Clerk                      Court Reporter / Recorder              Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:


   Proceedings:          [IN CHAMBERS] ORDER DENYING PLAINTIFFS’
                         MOTION FOR PRELIMINARY INJUNCTION AND
                         ADVANCEMENT OF TRIAL DATE

  It would be helpful to repeat the relevant complex procedural history of this case here. This
  case started when Plaintiffs Bruce Cahill, Greg Cullen, Shane Scott, and Ronald Franco sued
  Defendants Paul Pejman Edalat, Olivia Karpinski, Sentar Pharmaceuticals, Inc., Blue Torch
  Ventures, Inc., and LIWA, N.A., Inc., alleging Defendants had defrauded Plaintiffs in
  violations of Federal RICO and securities laws, and in violation of California fraud laws.
  (Dkt. No. 1.) Plaintiffs later filed a First Amended Complaint adding Pharma Pak, Inc. as a
  plaintiff and Farah Barghi and Sentus Land Management, LLC as defendants. (Dkt. No. 14.)
  Next, Olivia Karpinski, one of the Defendants, filed a counterclaim against all Plaintiffs.
  (Dkt. No. 30.) Defendant Paul Edalat then filed a claim naming all Plaintiffs and a slew of
  others (“Counterclaim Defendants”) as defendants. (Dkt. No. 44.)

  Plaintiffs and crosscomplainants (collectively, “Plaintiffs”) have now filed a motion asking
  the Court to restrain “unlawful conduct” by Defendants and to advance the trial date.

  The Court DENIES Plaintiffs’ motion. (Dkt. No. 94.)

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  1.       THE “UNLAWFUL” CONDUCT

  Plaintiffs state that Edalat and Karpinski have engaged in conduct since October 4, 2016, in
  an effort to obstruct justice in this case by making threats against Plaintiffs. Edalat and
  Karpinski posted public statements on the internet alleging one of the Plaintiffs committed
  sexual assault against Karpinski and that two Plaintiffs committed narcotics trafficking and
  tax evasion. Edalat and Karpinski published Plaintiffs’ counsel’s credit report, including his
  Social Security Number and date of birth, and have made threats against all Plaintiffs to
  “expose” them publicly too. Edalat has stated that the purpose of these publications is to
  intimidate Plaintiffs and retaliate against them for filing this lawsuit.

  Plaintiffs’ exhibits show examples of some distasteful conduct by Edalat. There are text
  messages filled with derogatory terms and threats, emails spewing allegations and rude
  sarcasm, and disrespectful social media posts. Karpinski has posted public accusations of
  sexual assault by Cahill on her Instagram profile and on other public websites. Plaintiffs state
  that these allegations are false because Karpinski stated during a deposition while under oath
  that Cahill never committed any of the conduct listed in the definition for “Sexual Assault”
  under the California Civil Code.

  Plaintiffs seek the following injunctive relief:

           (1) an order directing Defendant Karpinski to remove from all internet sites
           over which she has control any statement alleging that Plaintiff Cahill sexually
           assaulted her or otherwise engaged in any sexual crime against her;

           (2) an order that, in place of those accusations, Karpinski should, for a period
           of 45 days, run on the same sites the following statement: “On October 7,
           2016, and later, I posted statements on the internet that Mr. Bruce Cahill had
           sexually assaulted me. Those statements were not true. What I actually claim is
           that he once attempted to kiss me and would occasionally pat me on the
           shoulder. He has denied this physical conduct and it is now in litigation, along
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           with claims made against me, which Mr. Cahill and other shareholders of the
           company filed against me before I filed assault and battery claims against Mr.
           Cahill. My actual assault and battery claims stem from my allegation that Mr.
           Cahill would pat me on the shoulder occasionally and kissed me on the cheek
           once, claims he denies;

           (3) Issue an order directing Defendants Karpinski and Edalat to remove from
           all internet sites over which they have control any statement alleging that any
           Plaintiff engaged in any manufacture of illegal drugs or fired any employee of
           Pharma Pak for having cooperated with law enforcement personnel in any
           drug investigation;

           (4) Issue an order directing that Defendants Karpinski and Edalat are
           prohibited from posting on any public website or in any other form of
           publication any statement that any of the Plaintiffs have engaged in any illegal
           activity;

           (5) Issue an order prohibiting Defendants Karpinski and Edalat from
           threatening any Plaintiff or witness with adverse public statements by reason
           of their being a witness or a party in this lawsuit; and

           (6) Issue an order prohibiting Defendants Karpinski and Edalat from making
           public any private information, including financial account information,
           birthdates, social security numbers, or residence addresses.

  2.       LEGAL STANDARDS

           2.1    Preliminary Injunction

  Plaintiffs ask the Court to restrain some of Edalat and Karpinski’s speech through a
  preliminary injunction. “A preliminary injunction is an extraordinary remedy never awarded
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  as of right.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). Instead, a court
  “must balance the competing claims of injury and must consider the effect on each party of
  the granting or withholding of the requested relief.” Id. (quoting Amoco Production Co. v.
  Gambell, 480 U.S. 531, 542 (1987)). Before a court may grant a preliminary injunction, the
  moving party must establish that (1) it is likely to succeed on the merits, (2) it is likely to
  suffer irreparable harm if no preliminary injunction is granted, (3) the balance of the equities
  tips in its favor, and (4) an injunction is in the public interest. Winter, 555 U.S. at 20.


           2.2   Rule 16(b)

  Federal Rule of Civil Procedure 16(b) governs when a court’s scheduling order may be
  modified. Rule 16 provides that “[a] schedule may be modified only for good cause and with
  the judge’s consent.” Fed. R. Civ. P. 16(b)(4). “While a court may take into account any
  prejudice to the party opposing modification of the scheduling order, ‘the focus of the [Rule
  16(b)] inquiry is upon the moving party’s reasons for seeking modification.’” In re Western
  States Wholesale Nat’l Gas Antitrust Litig., 715 F.3d 716, 737 (9th Cir. 2013) (quoting Johnson v.
  Mammoth Recreations, Inc., 975 F.2d 604, 609 (9th Cir. 1993) (alteration in original)).

  3.       ANALYSIS

  The preliminary injunction Plaintiffs seek is largely a prior restraint of speech. Prior restraints
  come with a “heavy presumption” against constitutional validity and a “heavy burden” of
  justification. Org. for a Better Austin v. Keefe, 402 U.S. 415, 419 (1971). Plaintiffs argue that
  Karpinski’s and Edalat’s speech isn’t protected by the first amendment because it’s
  fraudulent speech. The “irreparable harm” that Plaintiffs believe they will suffer if no
  preliminary injunction is granted is a harm to their reputation. Defendants argue these public
  statements were mere personal opinions and that Plaintiffs haven’t even tried applying the
  elements of fraud to the speech.

  The Court is not convinced that Plaintiffs have established they’re entitled to preliminary
  injunction. The biggest weakness of this preliminary injunction motion is in meeting the first
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  prong because it’s not likely that Plaintiffs would succeed on the merits of a prior restraint
  request. At the risk of inviting more claims, which is the last thing this case needs, Plaintiffs
  do have other recourse if they believe their reputations have been harmed through
  defamatory speech. Preliminary injunction is not an appropriate relief here. Although
  Plaintiffs aren’t entitled to preliminary injunction, the Court will take Defendants’ conduct
  into consideration during jury selection, peremptory challenges, and arguments on evidence
  to be presented at trial, if this case goes to trial.

  As for the request to advance the trial date, the motion practice in this case, including
  Plaintiffs’ own motions to dismiss and a motion for discovery sanctions, convince the Court
  that the trial date should not be advanced for this case. The parties still disagree about
  whether the counterclaims meet pleading requirements and no written discovery has yet
  occurred. Plaintiffs’ reason for seeking to advance the trial date is to vindicate his clients’
  good names and reputations. In light of the circumstances surrounding the lawsuit, this is not
  sufficient good cause to modify the Court’s scheduling order.

  4.       DISPOSITION

  The Court is concerned that some of these internet communications impede the resolution
  of this case on the merits and may be unprofessional. In the fitting words of Chief Judge
  Alex Kozinski, “[t]he parties are advised to chill.” Mattel, Inc. v. MCA Records, Inc. , 296 F.3d
  894, 908 (9th Cir. 2002). The Court likewise admonishes the parties to focus on substantive
  matters and to stop all the bickering. Counsel should advise their clients to uphold the
  integrity of proceedings before this Court through more professional behavior outside of
  Court.

  The Court DENIES Plaintiffs’ motion. (Dkt. No. 94.)

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